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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:10CR334
                     Plaintiff,                   )
                                                  )
       vs.                                        )             ORDER
                                                  )
JAVIER SANTIAGO-CARBAJAL,                         )
JOSE ESTEBAN HERNANDEZ-VILLALBA,                  )
RAMON MACIAS-ESPINOZA and                         )
JUAN PABLO MANCILLAS-RAMIREZ,                     )
                                                  )
                     Defendants.                  )


       This matter is before the court on the oral motion of defendant Juan Pablo Mancillas-
Ramirez (Mancillas-Ramirez) for an extension of the pretrial motion deadline. The motion
was made during the arraignment on the Indictment on September 27, 2010.                 The
government had no objection to the motion. Counsel for the remaining defendants had no
objection. Mancillas-Ramirez acknowledged the additional time needed for his motion would
be excluded under the calculations under the Speedy Trial Act. The oral motion was
granted.
       IT IS ORDERED:
       1.     Mancillas-Ramirez’s motion for an extension of time to file pretrial motions is
granted. All defendants shall have to on or before November 15, 2010, in which to file
pretrial motions in accordance with the progression order.
       2.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendants in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., from September 27, 2010, through November
15, 2010, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason defendants’ counsel require additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


       DATED this 27th day of September, 2010.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
